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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

     Caption in Compliance with D.N.J. LBR 9004-1(b)

     POLITAN LAW, LLC
     88 East Main Street, #502
     Mendham, New Jersey 07945
     Mark J. Politan, Esq.

     Subchapter V Trustee                                     Case No.:              22-18303
                                                                               ____________________

                                                              Chapter:              11 (Sub V)
                                                                               ____________________


     In Re:                                                   Adv. No.:        ____________________

     ALEXANDRE J. DACOSTA and                                 Hearing Date:           11/2/23
                                                                               ____________________
     VIVIANNE C. ANTUNES,
                                                   Debtors.   Judge:                 Sherwood
                                                                               ____________________




                                     CERTIFICATION OF SERVICE
              Mark J. Politan
1. I, ____________________________ :

           ☐ represent ______________________________ in this matter.

           ☐ am the secretary/paralegal for ___________________________, who represents
           ______________________________ in this matter.

           ☐ am the ______________________
                      Subchapter V Trustee in this case and am representing myself.



2.                   October 5, 2023
           On _____________________________, I sent a copy of the following pleadings and/or documents
           to the parties listed in the chart below.
           Second Application for Compensation for Mark Politan, Trustee Chapter 11, Hearing
           scheduled for 11/2/2023 at 10:00 AM at JKS - Courtroom 3D, Newark. (Attachments: # 1
           Certification in Support of Fee Application # 2 Exhibit A to Certification # 3 Exhibit B to
           Certification # 4 Exhibit C to Certification # 5 Proposed Order)
3.         I certify under penalty of perjury that the above documents were sent using the mode of service
           indicated.

Date:      October 5, 2023
           _______________________                            /s/ Mark J. Politan
                                                              __________________________________
                                                              Signature
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 Name and Address of Party Served        Relationship of                   Mode of Service
                                        Party to the Case
 John O'Boyle, Esq.                   Counsel to Debtors      ☐ Hand-delivered
 Norgaard O'Boyle
                                                              ☐ Regular mail
 184 Grand Ave
 Englewood, NJ 07631                                          ☐ Certified mail/RR
 (201) 871-1333
 joboyle@norgaardfirm.com                                     ☐ Other _____________________
                                                                      ECF and Email
                                                                 (As authorized by the Court or by rule. Cite
                                                              the rule if applicable.)

 Peter J. D'Auria, Esq.               United States Trustee   ☐ Hand-delivered
 Office of the US Trustee
 One Newark Center Ste 2100                                   ☐ Regular mail
 Newark, NJ 07102                                             ☐ Certified mail/RR
 (973) 645-3014
                                                              ☐ Other _____________________
                                                                      ECF and Email
                                                                 (As authorized by the Court or by rule. Cite
                                                              the rule if applicable.)

 Christopher V. Arisco, Esq.          Counsel to Auction      ☐ Hand-delivered
 Ocwen C. Babcock, Esq.               Credit Advisors, LLC
 Padfield & Stout, LLP                                        ☐ Regular mail
 420 Throckmorton Street                                      ☐ Certified mail/RR
 Suite 1210
 Fort Worth, TX                                               ☐ Other _____________________
                                                                      ECF
                                                                 (As authorized by the Court or by rule. Cite
                                                              the rule if applicable.)

 Joseph H. Lemkin, Esq.               Counsel to XL         ☐ Hand-delivered
 Stark & Stark                        Funding, LLC dba Axle
                                                            ☐ Regular mail
 993 Lenox Drive, Bldg. #2            Funding, LLC fka
 Lawrenceville, NJ 08648              Auction Credit        ☐ Certified mail/RR
 (609)896-9060                        Enterprises, LLC
                                                                     ECF and Email
                                                            ☐ Other _____________________
 jlemkin@stark-stark.com
                                                                 (As authorized by the Court or by rule. Cite
                                                              the rule if applicable.)

 Regina Cohen, Esq.                   Counsel to Westlake     ☐ Hand-delivered
 Lavin, Cedrone, et al.               Flooring Company,
                                                              ☐ Regular mail
 190 North Independence Mall West     LLC d/b/a Westlake
 6th and Race Streets, Suite 500      Flooring Services       ☐ Certified mail/RR
 Philadelphia, PA 19106
                                                              ☐ Other _____________________
                                                                      ECF and Email
 (215)351-7551
 rcohen@lavin-law.com                                            (As authorized by the Court or by rule. Cite
                                                              the rule if applicable.)




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 Name and Address of Party Served         Relationship of                   Mode of Service
                                         Party to the Case
 Douglas J. McDonough, Esq.            Counsel to Bank of      ☐ Hand-delivered
 Frenkel Lambert Weiss Weisman &       America, NA
                                                               ☐ Regular mail
 Gordon, LLP
 53 Gibson Street                                              ☐ Certified mail/RR
 Bay Shore, NY 11706
                                                               ☐ Other _____________________
                                                                       ECF and Email
 973-325-8800                                                     (As authorized by the Court or by rule. Cite
 dmcdonough@flwlaw.com                                         the rule if applicable.)

 Drew S. McGehrin, Esq.                Counsel to Vero         ☐ Hand-delivered
 Duane Morris LLP                      Finance Technologies,
 30 S. 17th Street                     Inc.                    ☐ Regular mail
 Philadelphia, PA 19103-4196                                   ☐ Certified mail/RR
 215-979-7334
 dsmcgehrin@duanemorris.com                                    ☐ Other _____________________
                                                                       ECF and Email
                                                                  (As authorized by the Court or by rule. Cite
                                                               the rule if applicable.)

 John R. Morton, Jr., Esq.             Counsel to Thrift      ☐ Hand-delivered
 Law Offices of John R. Morton, Jr.    Investment Corporation
 110 Marter Ave                                                ☐ Regular mail
 Suite 301                                                     ☐ Certified mail/RR
 Moorestown, NJ 08057
 856-866-0100                                                  ☐ Other _____________________
                                                                       ECF and Email
                                                                     (As authorized by the Court or by rule.
 ecfmail@mortoncraig.com                                          Cite the rule if applicable.)

 Steven D. Pertuz, Esq,               Counsel to BAV Auto,     ☐ Hand-delivered
 Law Offices of Steven D. Pertuz, LLC LLC
 111 Northfield Avenue, Suite 304                              ☐ Regular mail
 West Orange, NJ 07052                                         ☐ Certified mail/RR
 (973) 669-8600
 pertuzlaw@verizon.net                                         ☐ Other _____________________
                                                                       ECF and Email
                                                                  (As authorized by the Court or by rule. Cite
                                                               the rule if applicable.)

 Phillip Andrew Raymond, Esq.          Counsel to JPMorgan     ☐ Hand-delivered
 McCalla Raymer Leibert Pierce LLC     Chase Bank, National    ☐ Regular mail
 420 Lexington Avenue, Suite 840       Association
 New York, NY 10170                                            ☐ Certified mail/RR
 732-692-6872
                                                               ☐ Other _____________________
                                                                       ECF and Email
 phillip.raymond@mccalla.com
                                                                  (As authorized by the Court or by rule. Cite
                                                               the rule if applicable.)




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 Name and Address of Party Served         Relationship of                 Mode of Service
                                         Party to the Case
 Donna L. Thompson                Counsel to Automotive      ‫ ܆‬Hand-delivered
 Donna L. Thompson, ESQ.          Finance Corporation
                                                             ‫ ܆‬Regular mail
 P.O. Box 679
 Allenwood, NJ 08720                                         ‫ ܆‬Certified mail/RR
 723-292-3000
                                                                     ECF and Email
                                                             ‫ ܆‬Other _____________________
 donna.thompson@dlthompsonlaw.com                               (As authorized by the Court or by rule. Cite
                                                             the rule if applicable.)

  Valerie A. Hamilton, Esq.                                  ‫ ܆‬Hand-delivered
  Office of the Attorney General of NJ                       ‫ ܆‬Regular mail
  Richard J. Hughes Justice Complex
  25 Market St.. PO Box 106                                  ‫ ܆‬Certified mail/RR
  Trenton, NJ 08625-0106                                     ‫ ܆‬Other ECF and Email
  Valerie.Hamilton@law.njoag.gov                                (As authorized by the Court or by rule. Cite
                                                             the rule if applicable.)

                                                             ‫ ܆‬Hand-delivered
                                                             ‫ ܆‬Regular mail
                                                             ‫ ܆‬Certified mail/RR
                                                             ‫ ܆‬Other _____________________
                                                                   (As authorized by the Court or by rule.
                                                                Cite the rule if applicable.)

                                                             ‫ ܆‬Hand-delivered
                                                             ‫ ܆‬Regular mail
                                                             ‫ ܆‬Certified mail/RR
                                                             ‫ ܆‬Other _____________________
                                                                (As authorized by the Court or by rule. Cite
                                                             the rule if applicable.)

                                                             ‫ ܆‬Hand-delivered
                                                             ‫ ܆‬Regular mail
                                                             ‫ ܆‬Certified mail/RR
                                                             ‫ ܆‬Other _____________________
                                                                (As authorized by the Court or by rule. Cite
                                                             the rule if applicable.)




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